Case 2:04-cr-20298-SH|\/| Document 54 Filed 07/11/05 Page 1 of 2 Page|D 67-
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IN THE UNITED sTATES DISTRICT cOURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL ll PH h
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UNITED STATES OF AMERICA,
VS. NO. O4-20298-Ma

PATRICK L. TAYLOR,

Defendant.

 

ORDER GRANTING MOTION FOR RECOMMENDATION FOR FCI-MEMPHIS

 

Before the court is defendant's June 23, 2005, motion asking
the court to recommend that the defendant serve his sentence at
FCI-Memphis. The government does not oppose the motion. For
good cause shown, the motion is granted. An amended judgment
will be filed to reflect the court's recommendation that the
defendant be incarcerated and serve his sentence at FCI-Memphis.

It is so ORDERED this l(b*"day of July, 2005.

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

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This notice confirms a copy of the document docketed as number 54 in
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Honorable Samuel Mays
US DISTRICT COURT

